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8
                                  UNITED STATES DISTRICT COURT
9
                                NORTHERN DISTRICT OF CALIFORNIA
10
                                           SAN JOSE DIVISION
11                                                                    *E-FILED - 6/19/06*
12
     UNITED STATES OF AMERICA,                       )    No. CR 06-00054-RMW
13                                                   )
             Plaintiff,                              )    ORDER AFTER HEARING
14                                                   )    EXCLUDING TIME UNDER THE
        v.                                           )    SPEEDY TRIAL ACT
15                                                   )
     JOSE SOLER,                                     )
16      a/k/a antboogie,                             )
        a/k/a Jas125,                                )
17          Defendants.                              )
                                                     )
18
19           It is hereby stipulated and agreed between defendant Jose Soler, and his counsel Carleen
20   R. Arlidge, and the United States as follows:
21      This matter was set for a status conference on June 12, 2006 at 9:00 a.m. In this copyright
22   infringement case, the defense needs more time to prepare, review discovery previously
23   provided, including a substantial amount of digital evidence, and research legal and sentencing
24   issues. The parties have been discussing plea and sentencing issues. Defense counsel was only
25   recently substituted into this case on May 8, 2006. It is reasonable for the defense to have
26   additional time to review the discovery, which includes some digital evidence.
27      The parties stipulate and move the Court to exclude time under the Speedy Trial Act from the
28   June 12, 2006 , until June 19, 2006, because the parties believe that the ends of justice served by

     STIPULATION REGARDING EXCLUDABLE TIME AND ORDER
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1    the granting of such a continuance outweigh the best interests of the public and the defendant in a
2    speedy trial, particularly since reasonable time is needed for the defense to prepare for pretrial
3    and trial matters, pursuant to 18 U.S.C. §§ 3161(h)(8)(A), 3161(h)(8)(B)(ii). The parties further
4    stipulate that time may be excluded for reasonable time for defense preparation, since the failure
5    to exclude time would deny counsel for the defendant reasonable time necessary for effective
6    preparation, taking into account the exercise of due diligence, pursuant to 18 U.S.C. §§
7    3161(h)(8)(A), 3161(h)(8)(B)(iv).
8       So stipulated.
9    Dated: May __, 2006                                   KEVIN V. RYAN
                                                           United States Attorney
10
11                                                         ________________________
                                                           MARK L. KROTOSKI
12                                                         Assistant United States Attorney
13      So stipulated.
14   Dated: May __, 2006
15                                                         ________________________
                                                           CARLEEN R. ARLIDGE
16                                                         Attorney for Defendant Siloac
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1                                                  ORDER
2       Based upon the foregoing Stipulation and good cause appearing therefor,
3       IT IS HEREBY ORDERED that the status conference set for June 12, 2006 at 9:00 a.m. for
4    defendant Jose Soler shall be continued to June 19, 2006 at 9:00 a.m.
5       IT IS FURTHER ORDERED that the time between June 12, 2006 , until June 19, 2006
6    shall be excluded from the computation period within which the trial must commence, for the
7    reasons and based upon the statutory provisions set forth by the parties in this Stipulation,
8    including that time is needed for effective defense preparation.. The Court finds that the ends of
9    justice outweigh the interests of the public and the parties in a speedier trial under 18 U.S.C. §§
10   3161(h)(8)(A), 3161(h)(8)(B)(ii) (complexity), 3161(h)(8)(B)(iv) (reasonable time necessary for
11   effective preparation taking into account the exercise of due diligence).
12   DATED: June __,
                 19 2006
13                                                          /s/ Ronald M. Whyte
                                                           _________________________
                                                           RONALD M. WHYTE
14                                                         United States District Judge
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